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Revised Form D – For cases assigned to Judge Rakoff                Effective September 10, 2010

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
Idalia Valcarcel, individually and on behalf of
all others similarly situated,
                                   Plaintiff(s),

                                                      CIVIL CASE MANAGEMENT PLAN
                                                               (JUDGE RAKOFF)
                     - against -
                                                                   21cv7821 (JSR)

Ahold U.S.A., Inc.,

                                   Defendant(s).


                      This Court Requires that this case shall be ready for trial on
                                                3/28/22          .

        After consultation with counsel for the parties, the following Case Management Plan is
adopted. This plan is also a scheduling order pursuant to Rules 16 and 26(f) of the Federal Rules
of Civil Procedure.

A. The case is to be tried to a jury.

B. Joinder of additional parties must be accomplished by       12/28/21            .

C. Amended pleadings may be filed without leave of Court until         12/28/21           .

D. Discovery (in addition to the disclosures required by Fed. R. Civ. P. 26(a)):

        1.     Documents. First request for production of documents, if any, must be served by
            11/29/21            .Further document requests may be served as required, but no
        document request may be served later than 30 days prior to the date of the close of
        discovery as set forth in item 6 below.

        2.     Interrogatories. Interrogatories pursuant to Rule 33.3(a) of the Local Civil
        Rules of the Southern District of New York must be served by         11/29/21     .
        No other interrogatories are permitted except upon prior express permission of
        Judge Rakoff. No Rule 33.3(a) interrogatories need be served with respect to
        disclosures automatically required by Fed. R. Civ. P. 26(a).
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        3.      Experts. Every party-proponent of a claim (including any counterclaim,
        cross-claim, or third-party claim) that intends to offer expert testimony in respect
        of such claim must make the disclosures required by Fed. R. Civ. P. 26(a)(2) by
        12/28/21. Every party-opponent of such claim that intends to offer expert testimony
        in opposition to such claim must make the disclosures required by Fed. R. Civ. P.
        26(a)(2) by 12/28/21        . No expert testimony (whether designated as “rebuttal”
        or otherwise) will be permitted by other experts or beyond the scope of the opinions
        covered by the aforesaid disclosures except upon prior express permission of the
        Court, application for which must be made no later than 10 days after the date
        specified in the immediately preceding sentence. All experts may be deposed, but
        such depositions must occur within the time limit for all depositions set forth below.

        4.       Depositions. All depositions (including any expert depositions, see item 3
        above) must be completed by 1/28/21 . Unless counsel agree otherwise or the
        Court so orders, depositions shall not commence until all parties have completed
        the initial disclosures required by Fed. R. Civ. P. 26(a)(1) or until four weeks from
        the date of this Order, whichever is earlier. Depositions shall proceed concurrently,
        with no party having priority, and no deposition shall extend beyond one business
        day without prior leave of the Court.
        5.       Requests to Admit.        Requests to Admit, if any, must be served by
        11/29/21. [insert date that is no later than 30 days prior to date of close of discovery
        as set forth in item 6 below].
        6.       All discovery is to be completed by          2/11/21         .Interim deadlines
        for items 1–5 above may be extended by the parties on consent without application
        to the Court, provided the parties are certain they can still meet the discovery
        completion date set forth in this paragraph. The discovery completion date may be
        adjourned only upon a showing to the Court of extraordinary circumstances, and
        may not be extended on consent.
E.       Post-discovery summary judgment motions in the form prescribed by the Court’s
Individual Rules of Practice may be brought on without further consultation with the Court provided
that a Notice of any such motion, in the form specified in the Court’s Individual Rules of Practice, is
filed no later than one week following the close-of-discovery date (item D-6 above) and provided
that the moving papers are served by         2/18/21        , answering papers by            3/8/21
., and reply papers by      3/18/21      [the last of these days being no later than six
weeks following the close of discovery]. Each party must file its respective papers with the
Clerk of the Court on the same date that such papers are served. Additionally, on the same
date that any papers are served and filed, counsel filing and serving the papers must
arrange to deliver courtesy non-electronic hard copies to the Courthouse for delivery to
Chambers.

F.      A final pre-trial conference, as well as oral argument on any post-discovery summary
judgment motions, shall be held on                         [date to be inserted by the Court], at
which time the Court shall set a firm trial date. The timing and other requirements for the Joint
Pretrial Order and/or other pre-trial submissions shall be governed by the Court’s Individual
Rules of Practice.
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G.      All motions and applications shall be governed by Judge Rakoff’s Individual Rules of
Practice. Counsel shall promptly familiarize themselves with all of the Court’s Individual Rules,
as well as with the Local Rules for the United States District Court for the Southern District of
New York.

 SO ORDERED

                                                                     JED S. RAKOFF
                                                                        U.S.D.J.

 Dated:             New York, New York
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                                     Certificate of Service

I certify that on October 21, 2021, I served and/or transmitted the foregoing by the method below
to the persons or entities indicated, at their last known address of record (blank where not
applicable).

                                  CM/ECF            First-Class       Email            Fax
                                                       Mail
 Defendant’s Counsel                  ☒                 ☐               ☐               ☐
 Plaintiff’s Counsel                  ☒                 ☐               ☐               ☐
 Courtesy Copy to Court               ☐                 ☐               ☐               ☐


                                                         /s/ Spencer Sheehan
